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                                                                                         FILED
                                                                                     November 6, 2024

                                                                                           CLERK, U.S. DISTRICT COURT
                          Firearm Violation and Forfeiture Statutes                       WESTERN DISTRICT OF TEXAS
                           UNITED STATES DISTRICT COURT                                        By:        RR
                             WESTERN DISTIR. ICT OF TEXAS                                                       Deputy
                                    Adn
    [Title 18 U.S.C. § 933(a)(2) aSna       N
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                                                                          e pursuant to Title 18 U.S.C. §
       924(d)(1), made applicable to criminal forfeiture by C                tls
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                                                                               ee  U.oS.:C. §S 61:2
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                                  inR  violation set forth in Count One, the United States of America
            Plaintiff
gives notice to the Defendants of its intent to seek the forfeiture of certain property upon conviction
                    v
and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. § 924(d)(1), made applicable to criminal
                                                         INDICTMENT
   1 NORBERTO GONZALEZ
foarnfediture by Title 28 U.S.C. § 2461(c), which states:
   2 MIGUEL GONZALEZ                                     Firearm Trafficking Conspiracy
         Defendants.




THE GRAND JURY CHARGES:


                                           COUNT ONE
                                    [18 U.S.C. § 933(a)(2) & (3)]

       On or about September 25, 2024, to October 8, 2024, in the Western District of Texas, the

defendants,

                                  (1) NORBERTO GONZALEZ,
                                    (2) MIGUEL GONZALEZ,

and others, did conspire to receive at least one firearm, to wit: a FN Herstal model MK 16 MOD

0 rifle, 5.56x45 mm caliber, serial number L011140, and a FN Herstal model MK 16 MOD 0 rifle,

5.56x45 mm caliber, serial number L010493, from another person in or otherwise affecting

interstate or foreign commerce, knowing or having reasonable cause to believe that such receipt

would constitute a felony, to wit: possession of a machinegun, in violation of Title 18, United

States Code, Section 933(a)(2) & (3).

    NOTICE OF UNITED STATES OF AMERICA’S DEMAND FOR FORFEITURE
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                            Firearm Violation and Forfeiture Statutes

                                               I.
    [Title 18 U.S.C. § 933(a)(2) and (3) subject to forfeiture pursuant to Title 18 U.S.C. §
       924(d)(1), made applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c)]

       As a result of the criminal violation set forth in Count One, the United States of America

gives notice to the Defendants of its intent to seek the forfeiture of certain property upon conviction

and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. § 924(d)(1), made applicable to criminal

forfeiture by Title 28 U.S.C. § 2461(c), which states:

       Title 18 U.S.C. § 924. Penalties
           (d)(l) Any firearm or ammunition involved in or used in any knowing violation
           of . . . section 933 . . . shall be subject to seizure and forfeiture . . . under the
           provisions of this chapter......

                                                II.
     [Title 18 U.S.C. § 933(a)(2) and (3) subject to forfeiture pursuant to Title 18 U.S.C.
                                     § 934(a)(1)(A) and (B)]

       As a result of the criminal violation set forth in Count One, the United States of America

gives notice to the Defendants of its intent to seek the forfeiture of certain property upon conviction

and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. § 934(a)(1)(A) and (B), which state:

       Title 18 U.S.C. § 934. Forfeiture and Fines.
       (a) Forfeiture. -­
           (1) In general.         Any person convicted of a violation of section
          932 or 933 shall forfeit to the United States, irrespective of any provision of
           State law--
                (A) any property constituting, or derived from, any proceeds the person
                obtained, directly or indirectly, as the result of such violation; and
                (B) any of the person's property used, or intended to be used, in any manner
                or part, to commit, or to facilitate the commission of, such violation . . .

                                                III.
                                         Personal Property

This Notice of Demand for Forfeiture includes but is not limited to the following property:




                                                  2
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       $17,620, more or less, in U.S. Currency.




       JAIME ESPARZA
       UNITED STATES ATTORNEY


BY :
       Zachary W. Parsons
       Assistant U.S. Attorney




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